Case 8:19-bk-13495-CB   Doc 13 Filed 10/21/19 Entered 10/21/19 15:10:09   Desc
                         Main Document    Page 1 of 6
Case 8:19-bk-13495-CB   Doc 13 Filed 10/21/19 Entered 10/21/19 15:10:09   Desc
                         Main Document    Page 2 of 6
Case 8:19-bk-13495-CB   Doc 13 Filed 10/21/19 Entered 10/21/19 15:10:09   Desc
                         Main Document    Page 3 of 6
Case 8:19-bk-13495-CB   Doc 13 Filed 10/21/19 Entered 10/21/19 15:10:09   Desc
                         Main Document    Page 4 of 6
Case 8:19-bk-13495-CB   Doc 13 Filed 10/21/19 Entered 10/21/19 15:10:09   Desc
                         Main Document    Page 5 of 6
Case 8:19-bk-13495-CB   Doc 13 Filed 10/21/19 Entered 10/21/19 15:10:09   Desc
                         Main Document    Page 6 of 6
